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 8

 9                                UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                         SAN JOSE DIVISION
12

13   DANIEL CHUNG, an individual,                       Case No.: 21-cv-07583-WHO
14                  Plaintiff
                                                        PLAINTIFF'S REQUEST FOR JUDICIAL
15          vs.                                         NOTICE IN SUPPORT OF OPPOSITION
                                                        TO DEFENDANTS’ MOTION TO
16   COUNTY OF SANTA CLARA, a public                    DISMISS PLAINTIFF'S FIRST
     entity; JEFFREY F. ROSEN, individually; and        AMENDED COMPLAINT
17   DOES 1-50, inclusive,
                                                        Date:              June 22, 2022
18                  Defendants,                         Time:              2:00 p.m.
                                                        Place:             Courtroom 2 – 17th Floor
19                                                      Judge:             Hon. William H. Orrick
20
            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
21
            PLEASE TAKE NOTICE THAT on June 22, 2022, at 2:00 p.m. or as soon thereafter
22
     as it may be heard in the above-entitled court, pursuant to Federal Rules of Evidence Rule
23
     201(b), Daniel Chung (“Plaintiff”) in support of his concurrently filed Opposition to Defendants’
24
     Motion to Dismiss Plaintiff’s First Amended Complaint, will and hereby does request that the
25
     Court take judicial notice of excerpts of the County of Santa Clara’s Charter that were excluded
26
     from Defendants Request for Judicial Notice, publicly available at https://boardclerk.sccgov.org/
27
     sites/g/files/exjcpb656/files/county-charter.pdf (“Plaintiff’s Exhibit A” or “Pls. Exh. A”).
28

      PLAINTIFF'S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OPPOSITION TO DEFENDANTS'
      MOTION TO DISMISS PLAINTIFF'S FIRST AMENDED COMPLAINT; Case No.: 21-cv-07583-WHO
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 1                                           INTRODUCTION
 2          Defendants County of Santa Clara (“County”) and Jeffrey F. Rosen’s (collectively
 3   “Defendants”) requested judicial notice of excerpts from Section VII of the Charter of the
 4   County of Santa Clara. (See ECF 49, pp. 2:1-2, 2:25-3:8, id. Exh. B.) Defendants however
 5   excluded relevant portions of that section. Pursuant to Federal Rule of Evidence Rule 201(b),
 6   Plaintiff respectfully requests that the Court take judicial notice of Plaintiff’s RJN Exhibit A,
 7   which is a true and correct copy of excerpts of Section VII of the Charter of the County of Santa
 8   Clara not included in Defendants’ request for judicial notice.
 9                                              ARGUMENT
10          The Court should take judicial notice of Plaintiff’s RJN Exhibit A because Santa Clara
11   County’s Charter is “common knowledge” within this jurisdiction and can be readily verified on
12   the Santa Clara County’s official website.
13          The Court may take judicial notice of adjudicative facts that (1) are generally known
14   within the Court’s territorial jurisdiction or (2) can be accurately and readily determined from
15   sources whose accuracy cannot reasonably be questioned. Fed. R. Evid. Rule 201(b). City and
16   county charters fall within the category of “common knowledge.” See Hansen v. City of San
17   Francisco, No. 12-cv-04210-JST, 2014 WL 1310282 at *2 n.1 (N.D. Cal. Mar. 31, 2014). This
18 Court has taken judicial notice of Santa Clara County’s Charter. See, e.g., Mandini v. County of

19 Santa Clara, No. 16-CV-07026-LHK, 2017 WL 1092398 at *4 (N.D. Cal. Mar. 23, 2017).

20          The Court may therefore grant Plaintiff’s request for judicial notice pursuant to Federal
21 Rule of Evidence Rule 201 subsection (1) or (2). First, the Charter of the County of Santa Clara

22 is “common knowledge” because it is the governing document of a municipality within the

23 Court’s jurisdiction. See Hanson, 2014 WL 1310282 at *2 n.1. Second, Santa Clara County’s

24 Charter can accurately and readily be determined from reliable sources because it is publicly

25 available on the County’s official website. County of Santa Clara, Charter of the County of

26 Santa Clara State of California, https://boardclerk.sccgov.org/sites/g/files/exjcpb656/files/

27 county-charter.pdf (last visited May 17, 2022).

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      PLAINTIFF'S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OPPOSITION TO DEFENDANTS'
      MOTION TO DISMISS PLAINTIFF'S FIRST AMENDED COMPLAINT; Case No.: 21-cv-07583-WHO
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 1                                             CONCLUSION
 2          For the foregoing reasons, the Court should grant Plaintiff’s request for judicial notice of
 3   Plaintiff’s RJN Exhibit A. The Charter of the County of Santa Clara County is “common
 4   knowledge” within the Court’s territorial jurisdiction and is readily verified on the official
 5   website of the County of Santa Clara.
 6

 7   DATED: May 18, 2022                               McMANIS FAULKNER
 8

 9                                                     /s/ Christopher Rosario
                                                       JAMES MCMANIS
10                                                     ABIMAEL BASTIDA
                                                       CHRISTOPHER ROSARIO
11
                                                       Attorneys for Plaintiff,
12                                                     DANIEL CHUNG
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      PLAINTIFF'S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OPPOSITION TO DEFENDANTS'
      MOTION TO DISMISS PLAINTIFF'S FIRST AMENDED COMPLAINT; Case No.: 21-cv-07583-WHO
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                               EXHIBIT A
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